     Case 2:10-cr-00034-SAB   ECF No. 75   filed 09/30/10   PageID.271 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )     No. CR-10-034-JLQ-1
                        Plaintiff,            )
 9                                            )     ORDER DENYING MOTION TO
      v.                                      )     EXPEDITE AND MOTION TO
10                                            )     RECONSIDER
      KRISTEN HAYNES,                         )
11                                            )     5       MOTIONS DENIED
                        Defendant.            )             (Ct. Rec. 66, 68)
12                                            )

13         The undersigned is unable to conclude sufficient additional

14   information has been submitted to warrant a change in the previous

15   bail ruling.    In addition, it is noted Defendant has entered a plea

16   of guilty and, accordingly, there no longer is a presumption of

17   innocence.

18         The Motions to Expedite and to Reconsider (Ct. Recs. 66, 68)

19   are DENIED.

20         IT IS SO ORDERED.

21         DATED September 30, 2010.

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23                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING MOTION TO EXPEDITE AND MOTION TO RECONSIDER - 1
